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10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. SA CR 19-047-JLS

14             Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF TRIAL DATE AND
15                   v.                      (2) FINDINGS OF EXCLUDABLE TIME
                                             PERIODS PURSUANT TO SPEEDY TRIAL
16   STEPHEN WILLIAM BEAL,                   ACT

17             Defendant.                    CURRENT TRIAL DATE:        05/7/19
                                             PROPOSED TRIAL DATE:       07/14/20
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21        Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys Mark Takla and
24   Annamartine Salick, and defendant STEPHEN WILLIAM BEAL (“defendant”),
25   both individually and by and through his counsel of record, Deputy
26   Federal Public Defender Amy Karlin and Richard G. Novak, hereby
27   stipulate as follows:
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1         1.    The Indictment in this case was filed on March 13, 2019.

2    Defendant first appeared before a judicial officer of the court in

3    which the charges in this case were pending on March 4, 2019 for an

4    initial appearance on a criminal complaint and on March 25, 2019 for

5    a post-indictment arrangement.      The Speedy Trial Act, 18 U.S.C.

6    § 3161, originally required that the trial commence on or before June

7    3, 2019.

8         2.    On March 25, 2019, the Court set a trial date of May 7,

9    2019 and a status conference date of April 26, 2019.

10        3.    Defendant is detained pending trial.        The parties estimate

11   that the trial in this matter will last at least 40 days, excluding

12   any penalty phase trial that may be necessary.

13        4.    By this stipulation, defendant moves to continue the trial

14   date to July 14, 2020.     This is the first request for a continuance.

15        5.    Defendant requests the continuance based upon the following

16   facts, which the parties believe demonstrate good cause to support

17   the appropriate findings under the Speedy Trial Act:

18              a.   Defendant is currently charged in an indictment with

19   violations of the following offenses which are each punishable by

20   death: 18 U.S.C. § 2332a(a)(2) (Use of a Weapon of Mass Destruction

21   Resulting in Death); 18 U.S.C. § 844(i) (Malicious Destruction of a

22   Building Resulting in Death); and 18 U.S.C. § 924(c) (Use of a

23   Destructive Device During and in Relation to a Crime of Violence.

24   The Attorney General of the United States has not yet determined if

25   he will or will not direct the government to seek the death penalty.

26   Defendant is also charged with violation of 26 U.S.C. § 5861(d)

27   (Possession of an Unregistered Destructive Device).

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1              b.    The discovery in this case is voluminous.          The

2    government has made available for defendant’s review six digital

3    devices and the search warrant returns for two social media accounts

4    operated by the defendant.      The approximate volume of data of the

5    digital evidence made available to defendant is 6 terabytes.             The

6    government has also produced more than 700 pages of discovery to the

7    defense, beginning at his post-indictment appearance on March 25,

8    2019, including more than 200 reports of investigations from multiple

9    federal agencies, forensic examination reports, and evidence recovery

10   logs and reports.    In addition to the materials provided, the

11   government will be producing a very large amount discovery, including

12   making available for review the forensic images of more than 120

13   digital devices and social media and e-mail accounts belonging to

14   persons other than defendant, thousands of pages of financial

15   records, and hundreds of hours of surveillance videos.           The remaining

16   digital evidence alone accounts for more than 15 terabytes of data.

17             c.    Due to the complex nature of the prosecution, the

18   parties’ estimated length of the trial, the parties’ need to consult

19   with experts and prepare expert reports, the voluminous discovery,

20   and the need for the defense team to conduct forensic examinations of

21   the evidence and interview numerous witnesses, this case is so

22   unusual and so complex that it is unreasonable to expect adequate

23   preparation for pretrial proceedings or for the trial itself within

24   the Speedy Trial Act time limits.

25             d.    In light of the foregoing, counsel for defendant also

26   represents that additional time is necessary to confer with

27   defendant, conduct and complete an independent investigation of the

28   case, conduct and complete additional legal research including for

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1    potential pre-trial motions, review the discovery and potential

2    evidence in the case, and prepare for trial in the event that a

3    pretrial resolution does not occur.       Defense counsel represents that

4    failure to grant the continuance would deny the defense reasonable

5    time necessary for effective preparation, taking into account the

6    exercise of due diligence.

7              e.      Defendant believes that failure to grant the

8    continuance will deny him continuity of counsel and adequate

9    representation.

10             f.      The government does not object to the continuance.

11             g.      The requested continuance is not based on congestion

12   of the Court’s calendar, lack of diligent preparation on the part of

13   the attorney for the government or the defense, or failure on the

14   part of the attorney for the Government to obtain available

15   witnesses.

16        6.   For purposes of computing the date under the Speedy Trial

17   Act by which defendant’s trial must commence, the parties agree that

18   the time period of May 7, 2019 to July 14, 2020 inclusive, should be

19   excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i) and

20   (h)(7)(B)(iv) because the delay results from a continuance granted by

21   the Court at defendant’s request, without government objection, on

22   the basis of the Court’s finding that: (i) the ends of justice served

23   by the continuance outweigh the best interest of the public and

24   defendant in a speedy trial; (ii) failure to grant the continuance

25   would be likely to make a continuation of the proceeding impossible,

26   or result in a miscarriage of justice; (iii) failure to grant the

27   continuance would unreasonably deny defendant continuity of counsel

28   and would deny defense counsel the reasonable time necessary for

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1    effective preparation, taking into account the exercise of due

2    diligence; and (iv) the case is so unusual and so complex, due to

3    nature of the prosecution, the need for forensic and expert

4    examinations, and the voluminous discovery, that it is unreasonable

5    to expect preparation for pre-trial proceedings or for the trial

6    itself within the time limits established by the Speedy Trial Act.

7         7.   Nothing in this stipulation shall preclude a finding that

8    other provisions of the Speedy Trial Act dictate that additional time

9    periods be excluded from the period within which trial must commence.

10   Moreover, the provisions of the Speedy Trial Act may in the future

11   authorize the exclusion of additional time periods from the period

12   within which trial must commence.

13        IT IS SO STIPULATED.

14   Dated: April 15, 2019                Respectfully submitted,

15                                        NICOLA T. HANNA
                                          United States Attorney
16
                                          PATRICK R. FITZGERALD
17                                        Assistant United States Attorney
                                          Chief, National Security Division
18

19                                          /s/ Annamartine Salick
                                          MARK TAKLA
20                                        ANNAMARTINE SALICK
                                          Assistant United States Attorneys
21
                                          Attorneys for Plaintiff
22                                        UNITED STATES OF AMERICA

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